Case 09-14814-qwz

Da,

‘SMHS Puente

51 Pageloti

31

Doc 1233-20 Entered 08/13/10 14

BOUNDARY LINE TABLE
E

Lun! LENGTH BEARING
[auisa [113.37 Sear ay
[avis [52.63 S47595"E
(aciss [811.26 Sa2‘0s'S3"E
[aus [150.18 SV 2 IRE
Panis [14.04 MSS
[avisa [143.85 hs79"I6"E
Causa [115.00 Se Ze IE
Cacies T168. Haaser Ww
[ee | it¢20 S42 IRE
[aniez [156.00 HBA"2e°3B"E
[aLiaa [250.00 Mapas ow
(atiss [481.05 NB2°41'SB"E
[aies [206.60 Nayer207e
[aui6s | 20n.o S2e17E
[ane | sto80 SS¥5708"E
[aviea [314.55 seoroy76"E
[sues [x28 5732 10°E
Ta | 4278 SB Pa210"E
LIT 158.55 So150'26"E
7 7a Sa2708"E
2: 512.45 S82°5p'44"E
iF 458,11 Havas"
iz 102,85 S7 727 36"E
Lia 2R2z B14 47E
7. F773 [yOS818"E
rz BALOZ $1233 20°W
[au 1370.85
[atiga [78.98
[auat 52.08
[aviaz [pa 22
(aties | sa54
[aLiaa [168.22
[atigs [162.85
(acs [320.45
[aviary | aaa5
[aties [305.01
[auiaa [B44 NGSa'95E
[atiea [75.62 S7557'50°E
(eer [sae Ba52W47°5
[aviaz BIS HaSDS:
Caviaa 5.00 HTS 2S W
BOUNDART CURVE TABLE
CURVE LENSTH | RADIUS TAN DELTA
0220 79.75 45,00 65.12 55.12
Be221 ARES 909.00 24.52 24,052
0222 S173 125.00 26.24 26.24
0223 301,78 195.00 190.51 190.51
Bez24 278.58 | 3622.00 | 159.26 159.26
Boz2s | 313.82 | 190.00 | 259.14 | 25914
C226 789.74 | 1498.00 | 404,28 404.28
Boz27 | 483.75 | 150200 | 24399 | 243.99
0226 487.50 215.00 409,40 403.40
e229 186.18 150.06 102.75 192.75
C250 OFS 150.06 58.02 58.02
Be231 98.05 115.00 52.25 52.25
Bozs2 | 470.23 | s90.00 | 26846 | 26BR45
C253 265.22 150.06 180.49 180.49
BO234 87.72 902.00 33.88 35.83

BASIS OF BEARINGS

NORTH OO12‘38" EAST — THE WEST LINE OF THE NORTHWEST QUARTER
(HW 1/4) OF SECTION 02, TOWNSHIP 20 NORTH, RANGE 18 WEST, GLA &
SALT RIVEA MERIDIAN, MOHAVE COUNTY, ARIZOMA, #5 GETERHINED BY THE
ARIZONA COGROINATE SYSTEM OF 1983 (8283-WF), WEST ZDNE,
INTERUATIONAL FOOT (JF7), UMLIZNG FAST STATIC: CBSERVATIONS
PROCESSED BY NoS—dPU!

M.CSO. “sD 32 = LANTUDE 360S"22. 7003471,
LONGITUGE 114°09'21.57240"W (HAD '83}
HEIGHT 2562453011 (NAWD'BE)

STONE 1/4 COR 3/2 = LATITUDE 35°6°S5.85385"H,
LONGITUDE TarIO'SD.72261"w {HAL “E}
HEIGHT 2498. 2045BIr (Na¥D'8H)

BENCHMARK

BENCHWARK g "SD 347 MCSD.
ELEVATION= 2590.24273 IFT (HAVE '6B)

DESCRIPTION: ALUM GAP 2" DIA, SET IN CONC. 65 FT. NORTHEAST OF
THE SOUTH 1/4 CORNER OF SEC. 35, T. 21 Nl. R1B WAND THE
INTERSECTION GF SHIARUMP OR, AND HOPE RD. STAMPED “SD 34 1899
RLS 10543."

CENTERLINE LINE TABLE

INE

105,

BEARING
or OrE

10
105.

S5e70'45"E
Netra W

L105:

Nssa7'16-w
SARS DEE
Se" 08'
‘SBI-22°06"E
SAS ar"
MEI"244W
HS°2 7°53"
agorod

HeeSs40"E
NOySS407E
WaeAR2 7

Eas"

HEYOB'8"E

sorns'ns*w:

NS052°07"E
UDB'S7'52F

SUS7O7"E
0g S757E

Nad aa"4a"e

N5d52"44°E

haaa260° a

a
E

Besar E

sovsi'na"w

H2yO727"E

N7a1eroR"W.
Wags E

CLLISz

Sg0"4708"E

SAGS5 37°F

CENTERLINE CURVE TABLE

curve | LencTH | Raolus [TAN DELTA
ciciss | s61.23 | 323.00 | 902.13 | 20215
eoiay [7235 [ 55.00 [ 43.08 | 43.08
eLc7as | 303.47 [325.00 | 105.51 | 105.51
cicias | 4saaz | 727.00 | 2a7.54 | 237.34
eLcrao | tenas | 268.00 | aaa4 | aad
oils! | 336.10 | avs.o0 | 171.20 | 171.20
aioe [250.03 [302.00 | 132.68 | 133.68
aces [e796 [ 57.00 | 66.11 66.11
eiorad | sia.so [425.00 | 762.62 | 162.62
[olcies | 167.61 | 427.00 | 84.80 | 84.90
[ ciciss | siaa5 | a25.00 | 185.27 | 163.27
| aieie? [125.64 | 902.01 B3.15 | 6315
| cicies | 227.86 | 425.00 | 116.66 | 116.66
[ cicies | 247.51 | 703.00 | 124.95 [124.95
[ cie20q | ~455.2e | s27.o0 | 242.05 | 242.95
[ c.c2o1 | 401.90 | 927.00 | 20416 | 204,16
[ cie202 | 7ov.e6 | 450.00 | 450.80 | 450.60
[ ciezo0s | 161.80 | 712.00 | 81.25 | a1.25
[ ciczoa | s20.s7 [| 975.00 | 436.23 [436.25
[-cie205 [474.92 | 302.00 | 302.54 [302.54
| ciczoa [216.20 | 323.00 | 12.32 | 112.32
[cieso7 | eaeo | sv.co | 3945 | 39.43
| cie20a | s19.20 | 375.00 | 169.90 | 169.98
[ ciczog [444.55 [475.00 | 200.08 | 240.06
[e.ezio | 3.08 | 57.co | 58.55 | 56.55
[-cucat | 74.so | s7.G0 | 4349 | 43.49
[e.ezia | 8410 | 53.00 | 53.86 | 5a.86
eLcz13 [525.68 [1368.00 | 268.12 | 266.12
eLoai gas6 | 57.00 | 66.50 | 66.59
alesis | 465.47 [325.00 | 783.60 | 283.50
close | 186.87 | 252.00 | 98.80 | 98.90
aLosi7 | 306.57 [208.00 | 253.06 | 233.86
aLozis | avn | 55.00 | 69.82 | 69.82
clone | si64 | 55.00 | 51.41 11

CISCLAMER NOTE

UTILITY LocaTIONS sHow
HEREGN ARE APPROMMATE
OF, IT SHALL BE THE
CONTRACTOR'S RESPONSIBILITY

COMMENCING CorsTRUCTION.
Na REPRESENTATION IS MADE.

ENGINEER ASSUMES NO
RESPONSIBILITY FOR UTIUNES
NOT SHOW OF UTIUTIES
NOT SHOW IN THER PROPER
LOCATION.

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BACK OF CURB LIME TABLE

LUNE LENGTH BEARING
U 3.8 HOS34O0"E
Le 110.72 Nogad' OE

1.88 W352 16

ee | wsezriew

Ls 2B, S66DEI8"E
754 saen4'98"5

378. Sa1"27°08"E

La 27. sa1-22'08"
a 257 sav-27°0o"E
Ld ZEB. Sar-2708"E
LH 222. sa540'11"E
Liz 330.8 SB540'11"E
TS 27728 Naw

ue iat 49
1S 764.99 WAP Aaw
Lig 29.77 Messy
uy 208.57 H30"25'217W
c Te. 38 Nag25°21"W
L 25218 NOES TE

L 228.95 MOB"R5'A07E

5B, Wray
8. Were a
8. NOB 407E
75. NOES ME
767. NOSSO e
168.67 HODS7'40°E
a7, HOS3S'40°€
[tes 34, HOSS 40°E
72 1 H2BAa2E
7 Migs 2s Ww
L 136. Hiss 25H
20, HES"aa'OB Ee
40, H2SOaOB"E
703. N3S2134"E
704 Usa 34"E
a5. S57-41°56"H
93, S541'S6"H
180. S574 56H
1a. S5741'56"W
155 S5741's6"w
Ls 170. S541 '56"H
187. S541'S6"H
161. S5741'56"W
SOS BSI2"E

SA53522"E

S35522"5

535°33'22"E

iB. SO100'S5"W
75.33, S0V08'Ss"W
13. NSO FE
350.05 On S2"5
350.08 HOB"S7'52°E
84.65 SA0S7O7E
5.76 SwSe DFE
1701 HOB'S7'AFE
184. HOB'S7'S2"E
a3. HOB"S?'52°E
45. Noda 447E
405. NSA az SE
388.09 Ned? Ade
40.7: Hoa sz aaPe
526.43 HSATS2'd PE
0. h4a42 50
2a5: nayaz S0°W
158.72 30725217
134.64, pso7S'21"9
1.85 S724 29"E
2. S72 aro2"e
37. oh 3478207
28.76 HAT 207

Li woOa4 Sez0553°E
7% 186.21 S2U5'53"E
z 85.37 SAPS 55°C
7 14.11 SO5RSI2"E
7 340.48 SA535'22"E
7 150.95. S353522"E
7 337-73 535°33'22"6
a 32.58 S407 55°W
7 EVE? SADT 55 W

208.47 Saaz ade

u 347.58) Hodmaz'ad?E

713 N5AS2A APE
162. SOF 06H
165. SO72706"W
BIB. SRT SE
535. S871 35°E
SBS. socss"16"y
[tes 22, Sooseew
Ba 205.89 SOCSE16"W
180.
L 174
52.
70h
205,
7202,
15.
304.54 HAS'OS'43°E
ie 301.86 HAS OH'437E
[tea 360.1 52174200"

Loo 354.20 S747 07

List 324.11 S353522"E

ino [332.82 S53535'29"E

BACK OF CURB CURWE TABLE

236.62,

BACK OF CURB CURVE TABLE

CURVE LENGTH | RADIUS TAN,
Ce4 28.91 50.00 14.87
C95 196.43 721.00 98.83
cog $3.00 50.00 29.50
cg? 154.07 685.00 7F.38
coe 38.70 25.00 2444
cog 155.63 545.00 TFS
£100 36.08 25.00 21.98
191 36.39 25.00 24.14
£102 W471 545.00 86.11
e103 39.94 25.00 25.68
o104 141.46 503.00 FAS
£105 43.08 25.00 29.10
cics 207.54 503.00 105.25
e107 38.75 25.00 24.49
£108 37.80. 25.00 20.57
cies VFR 945.00 88.59
cng 37.57 25.00 23.55
Ci 91.08 945.00 45.57
o2 396.12 903.00 201.26
c 37.38 25.00 23.18
Cc 33.27 25.00 25.00,
C 33.27 25.00 25.00,
c 676.21 430,00 430.76
C 42,42 25.00 28.57
Cie 44.99 470,00 22.51
cug 31.66 25.00 18.35,
£120 610,42, 470,00 356.84
cz AS 25.00 26.93,
£123 115.26, 694.00 57.76
t12, 118.34, 750.00 | 59.350
124 | 40.54 25.00 26,41
£125 35.78 25.00 MTS
C126 oF? 25.00 | 22.59
o127 367.70 95.00, 185.97
£128 142,07, 95.00, FAG
123 159.12_| 895.00 79.73
£1350 33.26 25.00 24.99
131 37.76 25.00 23.54
£1352 141.45, 955.00 70.85
o133 45.10 25.00 29.18
1354 HBF 25.00 2741
£135 332.13 955.00 187.76
C136 39.28 25.00 25,01
o137 152.63 955.00 76.50
£1358 446.81 284.00 284.50
C133 503.22 520,00 320.57
e140 38.78 25.00 24,51
141 39.76 25.00 25.50
e142 228.25 341.00 118.58,
S145 3.49 25.00 18,22
ot 108.90 505.00 0.92
£145 47.20 39.00 26.98
C46 356.23 595.00 179.06
cis? H.34 25.00 27.18
£148 272.78 555.00 145.51
C143 39.51 25.00 25.24
£150 33.05, 25.00 24,76
C151 38.51 25.00 24.35
£152 463.27 495.00 250.17
C155 425.83 455.00 | 220.85
154 33.27 25.00 | 25.00
£155 55.51 25.00 | 50.38
Cis. 33.27 25.00 25.00,
C157 35.57 25.00 21.63
C158 33.27 25.00 | 25.00
C153 50.54 38.00 29.75
C160 37.81 25.00 | 25.58
C181 42,50, 25.00 | 28.58
C162 55.54 35.00 35.57
C165 15.67 50.00 7.30
C164 538.66 | 1366.00 | 272.77
C165 36.07 25.00 21,99
Cig 33.26 25.00 24.99
c1B7 175.68 | 1350.00 86.96
S168 40.91 25.00 26.59
C63 250.26 | 1550.00 | 125.49
e170 67.30 39.00 45.56
cit 491.41 341.00 299.41
e172 459.53 505.00 267.80
a17s 172.48 214.00 91.22
o17a 201.12 250.00 108.56
e175 372.62 280.00 219.74
cis 36.35, 25.00 24.10
a7? 365.41 316.00 204.79
o178 54.51 35.00 $8.11
cia 31.89 590.00 16.30
£180 4B? 590.00 26.78
181 257.94 590.00 SPF
e182 46.29 590.00 24.95
S183 38.47 590.00 18,52
184 258.84 590.00 46.88
185 55.91 35.00 35.95

SCALE (H) NONE
SCALE (W) MONE
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CHECKED BY SH/DB
DATE 4-12-06

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